
ORDER DENYING APPEAL
Background
¶ 1 This matter came before the Fort Peck Appellate Court on a Notice For Appeal filed September 26, 2016 by James BigHorn on behalf of the Fort Peck Tribal Prosecutor’s office challenging the acquittal of Appellee by the lower court.
Statement of Jurisdiction
¶2 This Court has jurisdiction over criminal matters where the Tribes are challenging a “not guilty” finding rendered by the Tribal Court without a jury. Title II, § 205(a). This matter involves a not guilty verdict by the lower court after a bench trial.
Issue
¶ 3 In order to effectuate an appeal the Tribes must file the notice of appeal within 15 days of the date when the decision was entered and must include the information required by Title II, § 206(c). Although this appeal was timely filed, the notice failed to contain a short statement sufficient for this Court to identify the specific error allegedly committed by the lower court in reaching its decision of acquittal.
¶ 4 The statement “the Court Erred” does not tell this Court what action by the lower court constitutes an error in application of law or an abuse of the lower court’s discretion as the finder of fact. Although the Tribes could have clarified the specific reasons for appealing the lower court’s acquittal by filing a written brief, memorandum or statement supporting its appeal within thirty (30) days after the notice of appeal was filed, it did not submit this supporting document. When asking for appellate review, it is the responsibility of the party appealing the lower court decision to articulate what the lower court did wrong in reaching its decision. This appeal simply fails to demonstrate any specific issue requiring review by this Court.
Order
¶ 5 Given the insufficiency of the Appeal Notice to identify any specific error committed by the lower court, this Court denies review.
SO ORDER.
